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Fll .ED P_W ,__ D.G.

IN TI-[E UNITED STATES DISTRICT COURT

  
 

 

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"' * CR. No. 03-20451-13
NicHoLAs MoRRoW, s

Defendant. *

 

ORDER RELIEVING FEDERAL DEFENDER FROM REPRESENTATION

 

Before this court is the defendant’s oral request for new counsel, which was heard in open
court on May 9, 2005.

After hearing from the defendant, the request is GRANTED and counsel is relieved.
Counsel is to be appointed as soon as possible from the CJA Panel for the defendant in this case.

lt is so ORDERED.

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.D N[EL BREEN
ED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 31 in
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Honorable J. Breen
US DISTRICT COURT

